Case 2:02-cV-02914-BBD Document 46 Filed 06/17/05 Page 1 of 4 Page|D 72

 

IN THE UNITEI) STATES DISTRICT COURT ‘;¢
FOR THE WESTERN DISTRICT OF TENNESSEE FH_ED I._E Y, k g D `
WESTERN DIVISION ‘ ~ -,»~ »-.-. .f».
05 sua : Pr»i 3, 30
T.A. WINGO, Trustee of HOBEH!`_ w 55 MRUMD
T'A` COX TRUST _!t_?t_Ettt-t:_ i:_j.rrji. §T;§’;'_ (_;T_
d/b/a CITY CENTER sHoPPING CENTER, \a.i:), ot- ,.\¢. sit-attains
Plaintiff,
v` No. 02_2914- Dv

REPUBLIC-FRANKLIN INSURANCE COMPANY
and
UTICA NATIONAL I`NSURANCE GROUP,

Defendants.

 

REVISED RULE l6(b) SCHEDULING ORDER

 

lt appearing to the Court that the l\/lotion to Revise Scheduling Order and for New Trial
Date is vvell taken and should be granted, the Rule 16(b) Scheduling Order of March 2, 2005 is

hereby revised to reflect the following dates:

COMPLETING ALL DlSCOVERY Septernber 15, 2005
(a) Document Production: September ]5, 2005
(b) Depositions, lnterrogatories and Request for
Admissions: September 15, 2005
(c) Expert Disclosure (Rule 26): September 15, 2005
(d) Expert Depositions October l3, 2005
(e) Filing Dispositive l\/[otions November 15, 2005

The trial of this matter, currently set to commence on October 17, 2005, is hereby
continued to the first available date in May 2006 as determined by the Court.

The other relevant matters addressed in the Scheduling Order of June 16, 2004 shall
remain in effect

This Order has been entered after consultation with trial counsel pursuant to notice.

This document entered on the docks sh‘e%cohgz?ce
W`ith Ftuie 58 andfor 79(a) FHCP on § l to

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IT IS SO ORDERED.

    

BER lCE B. DON D
UNI ED STATES DISTRICT JUDGE

|":\(.`LIENTS\Republic l~`ranklin lnsurance Company (l 55l8)\City Ceater1134638)\Pleadings\Revised Ru|e lo(b] Seliedu|ing, Order.doc

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:02-CV-02914 Was distributed by faX, mail, or direct printing on
.lune 20, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

